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                                                                                                               r-==----,
AO 106 (Rev 06/09) Application for a Search Warrant



                                       UNITED STATES DISTRICT Co                                        T
                                                                     for the
                                                         Southern District of Cal ifomia
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                                                                                                      BY         '-' " '  ''-'    •   .   DEPUTY
                 In the Matter of the Search of                         )
         (Briefly describe the property to be searched                  )
          or identij)' the person by name and address)                              Case No.
                                                                        )
    Black iPhone 7 A1661, IMEI: 355834084778698                         )
                                                                        )
                                                                        )

                                             APPLICATION FOR A SEARCH WARRANT
        L a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
pqwertx.t19 be, searched qnd Rive its /pcqt(on): . )
 ;:;ee A tacnment A ~incurporatea nerein


located in the              Southern               District of              California
                                                                 -----·--------
                                                                                                 . there is now concealed (identifi.' the
person or describe the property to be sei:::ed):
 See Attachment B (incorporated herein)


          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                   ~evidence of a crime:
                   ~contraband, fruits of crime, or other items illegally possessed;
                   ~property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                          Offense Description
        21 U.S.C. 952, 960, 963                     Importation of a Controlled Substance



         The <:J.pplication is based on these facts:
        See Affidavit of Meaghan Queally (incorporated herein)


           ~ Continued on the attached sheet.
           0 Delayed notice of       days (give exact ending date if more than 30 days:                            ---
                                                                                                                           ) is requested
             under 18 U.S.C. § 3103a, the basis ofwhich is set forth on the attached sheet.



                                                                               ¥Ap~e
                                                                                         HSI Special Agent Meaghan Queally
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:      ::J   ./! J'/t 5~--
City and state: San Diego, CA                                                     Hon. Bernard G. Skomal, U.S. Magistrate Judge
                                                                                                Printed name and title
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 1                           UNITED STATES DISTRICT COURT
 2                        SOUTHERN DISTRICT OF CALIFORNIA
 3    IN THE lv1A TTER OF THE SEARCH OF
 4    Black iPhone 7 A 1661
      Ilv1EI: 355834084778698                       AFFIDAVIT IN SUPPORT OF
 5                                                  AN APPLICATION FOR A
                                                    SEARCH WARRANT
 6
 7
 8
 9         I, Meaghan Queally, Special Agent with the United States Department of Homeland
10 Security ("DRS"), Homeland Security Investigations ("HSI"), having been duly sworn,
11   state as follows:
12                                      INTRODUCTION

13   1.     This affidavit is made in support of an application for a warrant to search: A black
14 iPhone 7, IMEI: 355834084778698 (hereinafter "Target Telephone") seized from Javier
15 URQUIDEZ (hereinafter "URQUIDEZ"), as more particularly described in Attachment A.
16 2.      Target Telephone was seized from URQUIDEZ on or about January 15, 2018 at
17 about the time of his arrest. It is believed that Target Telephone was used by URQUIDEZ
18 to communicate with co-conspirators during a drug smuggling event on January 15, 2018.
19 URQUIDEZ has been charged with importation of approximately 26.48 kilograms of
20 methamphetamine in the Southern District of California. Probable cause exists to believe
21   that Target Telephone contains evidence relating to violations of Title 21, United States
22 Code Sections 952 and 960. Target Telephone is currently stored at the Otay Mesa Vault,
23   9777 Via De La Amistad, San Diego, CA 92154.
24 3.      Based on the information below, there is probable cause to believe that a search of
25 Target Telephone will produce evidence of the aforementioned crimes, as described in
26 Attachment B.
27 4.      This affidavit is based upon information I have gained through training and
28 experience, as well as upon information related to me by other individuals, including law
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 1 enforcement officers. In preparation of this affidavit, I have discussed the facts of this case
 2 with other law enforcement agents and officers within DEA and the Department of
 3 Homeland Security. Because this affidavit is being submitted for the limited purpose of
 4 securing a search warrant, I have not included each and every fact known concerning this
 5 investigation but have set forth only the facts that I believe are necessary to establish
 6 probable cause to believe that evidence relating to violations of Title 21, United States
 7 Code, Sections 952, and 960, described in Attachment B, is located on the cellular phone
 8 described in Attachment A.
 9                               EXPERIENCE AND TRAINING
10 5.      I am a Special Agent with the Department of Homeland Security, Homeland
11 Security Investigations (HSI), who is assigned to the San Ysidro office under the Special
12 Agent in Charge in the San Diego office. I have been so employed since 2007. As part of
13 my daily duties as an HSI agent, I investigate criminal violations relating to human
14 smuggling and narcotics smuggling. I have received training from the Federal Law
15 Enforcement Training Center and other law enforcement agencies in the area of narcotics
16 smuggling. I have participated in dozens of narcotics smuggling investigations. I am in
17 routine contact with experts in the field of narcotics and human smuggling investigations.
18 As a federal agent, I am authorized to investigate violations of United States laws and I am
19 a law enforcement officer with the authority to execute warrants issued under the authority
20 of the United States. In preparation for this affidavit, I have discussed the facts of this case
21 with other law enforcement agents/officers within HSI and other agencies.
22 6.      Although the nature of that work with Department of Homeland Security,
23 Immigration and Customs Enforcement, Homeland Security Investigations require that I
24 keep apprised of trends and developments involved in the investigations of drug traffickers,
25 I regularly communicate with agents from the Drug Enforcement Administration, United
26 States Border Patrol, Customs and Border Protection, and various other local and state law
27 enforcement officers operating within the Southern District of California.
28
                                                   2
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 1 7.      By virtue of my employment as a Special Agent with the Department of Homeland
 2 Security, Immigration and Customs Enforcement, Homeland Security Investigations, I
 3 have had training in and performed various tasks, which include, but are not limited to:
 4             a. Functioning as a surveillance agent and thereby observing and recording
 5                movements of persons trafficking in controlled       substances   and    those
 6                suspected of trafficking in controlled substances;
 7             b. Participating in the tracing of monies and assets gained by controlled
 8                substance traffickers from the illegal sale of controlled substances and/or the
 9                laundering of monetary instruments;
10             c. Interviewing witnesses, cooperating individuals, and informants relative to
11                the illegal trafficking of controlled substances and the distribution of monies
12                and assets derived from the illegal trafficking of controlled substances
13                (laundering of monetary instruments); and
14             d. Functioning as a case agent, which entails the superv1s10n of specific
15                investigations involving the trafficking of narcotics and the laundering of
16                monetary instruments.
17 8.      Through the course of my training, investigations, and conversations with other law
18 enforcement personnel, I am aware that it is a common practice for drug smugglers to work
19 in concert with other individuals and to do so by utilizing cellular telephones, pagers and
20 portable radios to maintain communications with co-conspirators in order to further their
21   criminal activities.   Conspiracies involved in the smuggling and trafficking of drugs
22 generate many types of evidence including, but not limited to, cellular phone-related
23 evidence such as voicemail messages referring to the arrangements of travel and payment,
24 names, photographs, text messaging, and phone numbers of co-conspirators. For example,
25   load drivers smuggling controlled substances across the border are typically in telephonic
26 contact with co-conspirators immediately prior to and following the crossing of the load
27 vehicle, at which time they receive instructions on how to cross and where and when to
28 deliver the controlled substance.
                                                  3
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 1 9.      In preparing this affidavit, I have conferred with other agents and law enforcement
 2 personnel, who are experienced in the area of drug investigations, and the opinions stated
 3 below are shared by them. Further, I have personal knowledge of the following facts, or
 4 have had them related to me by persons mentioned in this affidavit.
 5 10.     Based upon my training and experience as a Special Agent, and consultations with
 6 law enforcement officers experienced in narcotics smuggling investigations, and all the
 7 facts and opinions set forth in this affidavit, I submit the following:
 8            a. Drug smugglers will use cellular telephones because they are mobile and they
 9               have instant access to telephone calls, text, web, and voice messages.
1O            b. Drug smugglers believe that cellular telephones provide greater insulation and
11               protection against court-ordered wiretaps, and they believe in the inability of
12               law enforcement personnel to simultaneously track the originating and
13               destination telephone numbers of calls placed to and from their cellular
14               telephones.
15            c. Drug smugglers will use cellular telephones because they are able to actively
16               monitor the progress of their illegal cargo while the conveyance is in transit.
17            d. Drug smugglers and their accomplices will use cellular telephones because
18               they can easily arrange and/or determine what time their illegal cargo will
19               arrive at predetermined locations.
20            e. Drug smugglers will use cellular telephones to direct drivers to synchronize
21               an exact drop off and/or pick up time of their illegal cargo.
22            f. Drug smugglers will use cellular telephones to notify or warn their
23               accomplices of law enforcement activity to include the presence and posture
24               of marked and unmarked units, as well as the operational status of Border
25               Patrol checkpoints.
26                          STATEMENT OF PROBABLE CAUSE
27   11.   On January 15, 2018 at approximately 4:37 a.m., Javier URQUIDEZ etnered the
28 United States from Mexico at the San Ysidro, California, Port of Entry as the driver, sole
                                                  4
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 1 occupant and registered owner of a 2015 red Nissan Altima bearing California license plate
 2 7EOJ919. During a border inspection of the vehicle, Customs and Border Protection
 3 Officers (CBPO) observed black plastic bags in the spare tire well in the trunk of the
 4 vehicle. Inside the black plastic bags, CBPOs discovered 56 packages containing a crystal
 5 like substance that field tested positive for the properties of methamphetamine. Lab tests
 6 have confirmed that the substance concealed within the vehicle contained 25.52 kilograms
 7 of pure methamphetamine.
 8 12.     On January 15, 2018, at approximately 8:00 a.m., Homeland Security Investigations
 9 (HSI) Special Agents advised URQUIDEZ that he was under arrest and read him his
1O Miranda rights in the English language. URQUIDEZ stated that he understood his rights
11 and agreed to answer questions. In part and in summary, URQUIDEZ denied knowledge
12 of the narcotics concealed in his vehicle.
13   13.   At the time ofURQUIDEZ's arrest, CBP officers seized Target Telephone from him
14 as evidence.
15   14.   Based upon my experience and investigation in this case, I believe that URQUIDEZ,
16 as well as other persons, was involved in an on-going conspiracy to import, transport,
17 possess, and distribute methamphetamine throughout the State of California. Based on my
18 experience investigating narcotics smugglers, I also believe that URQUIDEZ used Target
19 Telephone to coordinate with co-conspirators regarding the transportation and delivery of
20 the methamphetamine and cocaine, and otherwise, to further this conspiracy both inside
21   and outside the United States. I also know that recent calls made and received, phone
22 numbers, contact names, electronic mail (email) addresses, appointment dates, messages,
23 pictures and other digital information are stored in the memory of electronic devices
24 described herein, which identify other persons involved in narcotics trafficking activities.
25   15.   Drug conspiracies require detailed and intricate planning to successfully evade
26 detection. In my training, education and experience, I have learned that the planning and
27 coordination of a drug conspiracy requires planning and coordination in the days, weeks,
28 and often months prior to the event. Additionally, co-conspirators are often unaware of the
                                                 5
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 1 subject's arrest and will continue to attempt to communicate with the subject via their
 2 cellular phone after the arrest to determine the whereabouts of their valuable cargo.
 3 Further, I have reviewed the crossing records for URQUIDEZ and the vehicle. From those
 4 records, I determined that URQUIDEZ began crossing the load vehicle on December 20,
 5 2015. Given this, I request permission to search the Target Devices for evidence dating
 6 back to June 16, 2017, up to and including through January 16, 2018.

 7         PROCEDURES FOR ELECTRONICALLY STORED INFORMATION
                     AS TO THE CELLULAR TELEPHONE
 8
     16.   It is not possible to determine, merely by knowing the cellular telephone's make,
 9
     and FCC, the nature and types of services to which the device is subscribed and the nature
10
     of the data stored on the device. Cellular devices today can be simple cellular telephones
11
     and text message devices, can include cameras, can serve as personal digital assistants and
12
     have functions such as calendars and full address books and can be mini-computers
13
     allowing for electronic mail services, web services and rudimentary word processing. An
14
     increasing number of cellular service providers now allow for their subscribers to access
15
     their device over the internet and remotely destroy all of the data contained on the device.
16
     For that reason, the device may only be powered in a secure environment or, if possible,
17
     started in "flight mode" which disables access to the network. Unlike typical computers,
18
     many cellular telephones do not have hard drives or hard drive equivalents and store
19
     information in volatile memory within the device or in memory cards inserted into the
20
     device. Current technology provides some solutions for acquiring some of the data stored
21
     in some cellular telephone models using forensic hardware and software. Even if some of
22
     the stored information on the device may be acquired forensically, not all of the data subject
23
     to seizure may be so acquired. For devices that are not subject to forensic data acquisition
24
     or that have potentially relevant data stored that is not subject to such acquisition, the
25
     examiner must inspect the device manually and record the process and the results using
26
     digital photography. This process is time and labor intensive and may take weeks or longer.
27
28
                                                   6
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 1 17.     Following the issuance of this warrant, I will collect the subject cellular telephones
 2 and subject them to analysis.      All forensic analysis of the data contained within the
 3 telephones and their memory cards will employ search protocols directed exclusively to
 4 the identification and extraction of data within the scope of this warrant.
 5 18.     Based on the foregoing, identifying and extracting data subject to seizure pursuant
 6 to this warrant may require a range of data analysis techniques, including manual review,
 7 and, consequently, may take weeks or months. The personnel conducting the identification
 8 and extraction of data will complete the analysis within ninety (90) days, absent further
 9 application to this court.
10                                       CONCLUSION
11   19.   Based on the aforementioned factual information, I respectfully submit that there is
12 probable cause to believe that evidence of violations of Title 21, United States Code,
13 Sections 952 and 960 may be located on Target Telephone described in Attachment A. I,
14 therefore, respectfully request that the attached warrant be issued authorizing the search
15 and seizure of the items listed in Attachment B.


                                            Me~lly~
16
17
18                                          Special Agent
                                            Homeland Security Investigations
19
     SUBSCRIBED and SWORN to before me
20
     this L :;- day of March, 2018
21
22
                                            THE HONORABLE BERNARD G. SKOMAL
23                                          UNITED STATES MAGISTRATE JUDGE
24
25
26
27
28
                                                  7
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 1
                                        ATTACHMENT A
 2
                                PROPERTY TO BE SEARCHED
 3
           A Black iPhone 7 A1661, IMEI: 355834084778698, seized from Javier URQUIDEZ
 4
     on January 15, 2018 at the San Ysidro, California, Port of Entry. It is currently stored at
 5
     the Otay Mesa Vault, 9777 Via De La Amistad, San Diego, CA 92154.
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